     Case 3:18-cv-00428-DMS-MDD Document 145 Filed 07/23/18 PageID.2418 Page 1 of 2


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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11     Ms. L.; et al.,                                     Case No.: 18cv0428 DMS (MDD)
12                           Petitioners-Plaintiffs,
                                                           ORDER RE: STATUS
13     v.                                                  CONFERENCE
14     U.S Immigration and Customs
       Enforcement (“ICE”); et al.,
15
                         Respondents-Defendants.
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18           The dial in number for counsel and any members of the news media that wish to
19     attend the July 24, 2018 status conference is as follows.
20           1.     Dial the toll free number: 877-411-9748;
21           2.     Enter the Access Code: 6246317 (Participants will be put on hold until the
22                  Court activates the conference call);
23           3.     Enter the Participant Security Code 07240428 and Press # (The security code
24                  will be confirmed);
25           4.     Once the Security Code is confirmed, participants will be prompted to Press
26                  1 to join the conference or Press 2 to re-enter the Security Code.
27           This number is for counsel and media only. Members of the general public may
28     attend in person. All persons dialing in to the conference are reminded that Civil Local

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                                                                                 18cv0428 DMS (MDD)
     Case 3:18-cv-00428-DMS-MDD Document 145 Filed 07/23/18 PageID.2419 Page 2 of 2


 1     Rule 83.7(c) prohibits any recording of court proceedings.
 2     Dated: July 23, 2018
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